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 2
 3                                          UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF CALIFORNIA
 4                                                FRESNO DIVISION

 5                                                     )
     FAMILY FARM ALLIANCE,                             ) Case No. 1:09-cv-1201 OWW SKO
 6
                                                       )
 7                         Plaintiff,                  ) Order Granting Request to Vacate
                                                       ) Settlement Conference
 8                  v.                                 )
                                                       )
 9   KENNETH SALAZAR, as Secretary of the )
10   United States Department of the Interior, et al., )
                                                       )
11                         Defendants.                 )
                                                       )
12                                                     )
13                                                     )

14          Before the Court is the Defendants’ Unopposed Request to Vacate Settlement
15   Conference. Docket No. 56 (April 27, 2010). Upon reviewing the parties’ request, and finding

16   good cause therefore, the Court hereby GRANTS the request and VACATES the May 6, 2010
17   settlement conference. The parties are advised to contact the court if they determine that a

18   settlement conference would be beneficial at a later date.
19          The Court further ORDERS that the parties are hereby excused from the requirement on
20   page 12 of the Court’s November 6, 2009 Order (Docket No. 24) that they submit confidential
21   settlement conference statements.

22
23
24   IT IS SO ORDERED.

25      Dated:                    April 27, 2010                  /s/ Sheila K. Oberto
26          DEAC_Signature-END:
                                                          UNITED STATES MAGISTRATE JUDGE

27          ie14hje
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